                      Case 1:18-cv-00594-CRC Document 7 Filed 03/20/18 Page 1 of 2
                                                                                                         28 USC 1608 Summons
                                                                                                         12/11




                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA
             PROCESS AND
             PROCESS INDUSTRIAL  AND
                         INDUSTRIAL
              DEVELOPMENTS LIMITED
              DEVELOPMENTS  LIMITED
                                                            )
                         Plaintiff                          )
                                                            )
                 v.                                         )                Civil Action No. 1:18-cv-00594-CRC
                                                            )
         FEDERAL REPUBLIC OF NIGERIA and
        MINISTRY OF PETROLEUM RESOURCES                     )
                       Defendant OF NIGERIA
        OF THE FEDERAL REPUBLIC                             )

                        Defendant.
                                            SUMMONS IN A CIVIL ACTION

To:      (Defendant’s name and address)
                                          FEDERAL REPUBLIC OF NIGERIA
                                          C/O The Ministry of Foreign Affairs, Central District FCT, Abuja, Nigeria




         A lawsuit has been filed against you.

        Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                        Process and Industrial Developments Limited
                        c/o Michael S. Kim, Josef M. Klazen and Marcus J. Green
                        KOBRE & KIM LLP
                        1919 M Street NW
                        Washington, DC 20036




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                    ANGELA D. CAESAR, CLERK OF COURT



Date:      3/20/2018                                                      /s/ Jean-Claude Douyon
                                                                             Signature of Deputy Clerk
                      Case 1:18-cv-00594-CRC Document 7 Filed 03/20/18 Page 2 of 2
                                                                                                         28 USC 1608 Summons
                                                                                                         12/11




                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA
             PROCESS
             PROCESSAND  INDUSTRIAL
                     INDUSTRIAL  AND
              DEVELOPMENTS
              DEVELOPMENTSLIMITED
                            LIMITED
                                                            )
                         Plaintiff                          )
                                                            )
                 v.                                         )                Civil Action No. 1:18-cv-00594-CRC
                                                            )
         FEDERAL REPUBLIC OF NIGERIA and                    )
        MINISTRY OF PETROLEUM RESOURCES
                       Defendant                            )
        OF THE FEDERAL REPUBLIC OF NIGERIA
                        Defendant.
                                            SUMMONS IN A CIVIL ACTION

To:      (Defendant’s name and address)
                                          MINISTRY OF PETROLEUM RESOURCES OF THE
                                          FEDERAL REPUBLIC OF NIGERIA
                                          c/o The Ministry of Foreign Affairs, Central District FCT, Abuja, Nigeria




         A lawsuit has been filed against you.

        Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                        Process and Industrial Developments Limited
                        c/o Michael S. Kim, Josef M. Klazen and Marcus J. Green
                        KOBRE & KIM LLP
                        1919 M Street NW
                        Washington, DC 20036




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                     ANGELA D. CAESAR, CLERK OF COURT



Date:      3/20/2018                                                      /s/ Jean-Claude Douyon
                                                                             Signature of Deputy Clerk
